Case 1:13-cv-00258-BRB-WPL

Document 119

Filed 12/19/16 Page lof1

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF NEW MEXICO

SETTLEMENT CONFERENCE BEFORE MAGISTRATE JUDGE LAURA FASHING

Caption: Sweet et al v. Audubon Financial Bureau, LLC et al

1:13-cv-00258-BRB-WPL

Date & Time: Monday, December 19, 2016, 9:00 a.m.

Appearances for Plaintiffs:

Rob Treinen (Ly

Plaintiff(s) in Attendance:

SAMS Sweep

Dheswn Stove

Others Attending:

Appearances for Defendants:

For Daniel Valentine

Clifford Atkins A
BougasBaker—

USsUN Kod guez
David Gutewski__,

Gerald Walsh G-gA/

Defendant(s) in Attendance:

Dog fo Lik Da, oh he

x Case settled. Per order filed concurrently, closing documents due

on January 13, 2017.

Case did not settle.

Settlement efforts to be continued on

at

X Pecos Courtroom; Time in Court=Ct, 25 hour Ss

